                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE

   ROBERT T. STOOKSBURY, JR.               )
              Plaintiff,                   )
                                           )
   v.                                      )                     No.: 3:12-cv-548
                                           )                     (Varlan/Guyton)
   MICHAEL L. ROSS, EVELYN W. ROSS et al., )
                                           )
             Defendants.                   )


                       PLAINTIFF ROBERT T. STOOKSBURY, JR.’S
              MOTION FOR DEFAULT JUDGMENT AGAINST THE ROSS ENTITIES

          Business entities who do not appear in federal court through a licensed attorney are in

   default.    The Defendant Ross entities, which are listed in a table below, are no longer represented

   by counsel in this matter.    They have also failed to answer or otherwise respond to the Fourth

   Amended Complaint.        Plaintiff Robert T. Stooksbury, Jr., respectfully moves for entry of a

   default judgment against them.

          Until February 1, 2017, the Ross entities were represented by attorney Richard Collins.

   On February 22, 2017, the Court granted Mr. Collins’s motion to withdraw. [Doc. 473].         In that

   Memorandum and Order, the Court declined to address entry of default against the Ross entities,

   but “ADMONISHED” the Ross entities that “‘corporations, partnerships, and associations cannot

   appear in federal court except through a licensed attorney.’”       [Doc. 473] at 4 (quoting In re

   Classicstar Mare Lease Litig., No. CIV.A. 5:07-CV-353-J, 2009 WL 1468594, at *1 (E.D. Ky.

   May 13, 2009)). The Court granted the Ross Defendants 30 days to obtain new counsel.

          That deadline has passed and no new counsel has appeared for the Rosses or the Ross entity

   defendants.    In addition, the Ross entity defendants have not answered or otherwise responded to




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   the Fourth Amended Complaint (Michael and Evelyn Ross have answered), and the Clerk has

   entered default against them.   [Doc. 489].

           Because entities cannot appear in federal court without counsel, entities for which

   counsel withdraws (or never appears to begin with) are in default.    See In re Classicstar Mare

   Lease Litig., No. CIV.A. 5:07-CV-353-J, 2009 WL 1468594, at *1 (E.D. Ky. May 13, 2009)

   (“Clearly, as a corporation, PCG cannot appear before this Court except through a licensed

   attorney, and, in the absence of counsel, PCG is in default.”).   See also Doherty v. Am. Motors

   Corp., 728 F.2d 334, 340 (6th Cir. 1984) (“The rule of this circuit is that a corporation cannot

   appear in federal court except through an attorney.”); Lattanzio v. COMTA, 481 F.3d 137, 139

   (2d Cir. 2007) (“Because both a partnership and a corporation must appear through licensed

   counsel, and because a limited liability company is a hybrid of the partnership and corporate

   forms, a limited liability company also may appear in federal court only through a licensed

   attorney.” (citation omitted)). “[I] is well settled that ‘a corporation may appear in the federal

   courts only though licensed counsel,’” otherwise “it will be treated as not having appeared at

   all.”   Nat’l Sec. Counselors v. CIA, 811 F.3d 22, 31 (D.C. Cir. 2016) (emphasis in original);

   see also Rowland v. California Men’s Colony, 506 U.S. 194, 201-02 (1993) (“It has been the

   law for the better part of two centuries . . . that a corporation may appear in the federal courts

   only through licensed counsel.”).        “‘[D]efault judgment may be entered against [an

   unrepresented entity].’”   Motir Servs. v. Ekwuno, 191 F. Supp. 3d 98, 107 (D.D.C. June 10,

   2016) (quoting Lennon v. McClory, 3 F. Supp. 2d 1461, 1462 n.1 (D.D.C. 1998)).

           Here, when Mr. Collins was permitted to withdraw, the Ross entities were specifically

   admonished that they could appear in this action only through a licensed attorney, and they
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   were given 30 days to find new counsel.      They have not done so.       Accordingly, a default

   judgment should be entered against them.

           As for the amount of the judgment, the damages alleged in the Fourth Amended

   Complaint include the value of the assets transferred, the fees and costs incurred in attempting

   to collect the Stooksbury I judgment, and the diminution in the recovery from the judgment

   debtors’ assets resulting from the transfers and encumbrances at issue.    See Fourth Amended

   Complaint ¶¶ 556, 599.       That diminution includes the costs of the receivership that was

   established in Stooksbury I.   In the interests of judicial economy, at this time Plaintiff seeks

   judgment against the Ross entities only for a damages amount that is already in the record,

   namely, the total fees and expenses reported in the Receiver’s interim and final applications

   for compensation.    That figure is $1,516,431.79.    An affidavit in support of this motion,

   which includes a table listing each compensation application, is attached.

           Accordingly, Mr. Stooksbury respectfully requests that judgment be entered against the

   Ross entities, which are listed in the table below, in the amount of $1,516,431.79, plus costs

   and interest according to law from the date of judgment is entered until the entire amount is

   paid.

                                      Defendant Ross Entities

       1. CC Properties, LLC                            18. Rarity Bay Realty, Inc.
       2. Consumer Research Company                     19. RCCA Company, Inc.
       3. CR Strategies, Inc.                           20. Realty Pro Express, Inc.
       4. HDP Properties, LLC                           21. RFD, LLC
       5. LTR Marina, LLC                               22. RMT CH Properties, LLC
       6. LTR Properties, Inc.                          23. RM Company, LLC

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       7. M&D Ross Rentals                            24. RMT Cottages, LLC
       8. NJS Development Company, LLC                25. RMT Properties, LLC
       9. OR Properties, LLC                          26. RMT Properties, LP
       10. Pine Mountain Partnership                  27. RMT Village Shops, LLC
       11. Pine Mountain Properties, GP               28. Senerges Corporation
       12. PM Properties of Tennessee, LLC            29. Tellico Communities, LLC
       13. PM Properties of Tennessee, LP             30. Tellico Lake Properties, L.P.
       14. PM Properties #2 of Tennessee, LLC         31. Vonore Properties, LLC
       15. PM Properties #2 of Tennessee, L.P.        32. VPI Company, LLC
       16. PM Properties #3 of Tennessee, LLC         33. WFD Company, Inc.
       17. PM Properties #3 of Tennessee, L.P.        34. WH McCollum & Co., LLC



         Respectfully submitted this 2nd day of June, 2017.

                                             s/James R. Stovall
                                             WAYNE A. RITCHIE II, BPR #01936
                                             JAMES R. STOVALL, BPR #32512
                                             RITCHIE, DILLARD, DAVIES
                                                    & JOHNSON, PC
                                             606 West Main Street, Suite 300
                                             Knoxville, Tennessee 37901-1126
                                             (865) 637-0661
                                             Attorneys for Plaintiff




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                                        Certificate of Service

           The undersigned hereby certifies that on this 2nd day of June, 2017, the foregoing was
   electronically filed with the Clerk of Court using the CM/ECF filing system, which will
   electronically serve same on all counsel of record and on Defendant John C. Garrison.

         The undersigned further certifies that on this 2nd day of June, 2017, the foregoing
   document was also served as indicated below:

          By First-Class Mail
          Mr. Michael L. Ross
          Ms. Evelyn W. Ross
          2624 Carpenters Grade Road
          Maryville, TN 37803

          By First-Class Mail
          To all the Ross entity defendants, which are listed below,
          c/o their registered agents, Michael L. Ross and Evelyn W. Ross,
          2624 Carpenters Grade Road
          Maryville, TN 37803

           Ross entity defendants: VPI Company, LLC; Tellico Lake Properties, L.P.; LTR
   Properties, Inc.; Senerges Corporation; Realty Pro Express, Inc.; CR Strategies, Inc.; Rarity Bay
   Realty, Inc.; NJS Development Company, LLC; WH McCollum & Co., LLC; RM Company,
   LLC; Pine Mountain Partnership; Pine Mountain Properties, GP; RMT Cottages, LLC; RMT
   Properties, LLC; RMT Properties, LP; RMT Village Shops, LLC; PM Properties of Tennessee,
   LP; PM Properties of Tennessee, LLC; PM Properties #2 of Tennessee, L.P.; PM Properties #2
   of Tennessee, LLC; PM Properties #3 of Tennessee, L.P.; PM Properties #3 of Tennessee, LLC;
   M&D Ross Rentals; OR Properties, LLC; CC Properties, LLC; Consumer Research Company;
   RFD, LLC; HDP Properties, LLC; WFD Company, Inc.; Tellico Communities, LLC; RCCA
   Company, Inc.; RMT CH Properties, LLC; LTR Marina, LLC; and Vonore Properties, LLC.

          A copy was also emailed to Michael Ross at mr@senerges.com, an email address Mr.
   Ross has used to send discovery requests to counsel for Plaintiff.

                                                s/James R. Stovall
                                                JAMES R. STOVALL




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